FRED T. ALLERS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Allers v. CommissionerDocket No. 23547.United States Board of Tax Appeals20 B.T.A. 649; 1930 BTA LEXIS 2069; September 3, 1930, Promulgated *2069  Evidence considered and respondent's determinations as to sale price of stock and March 1, 1913, values, sustained.  Ida May Adams, Esq., for the petitioner.  J. Arthur Adams, Esq., for the respondent.  MARQUETTE *649  This is a proceeding for the redetermination of a deficiency in income taxes amounting to $4,265.78, asserted by the respondent for the year 1923.  The errors alleged are: (1) That the respondent failed to investigate and establish the true March 1, 1913, value of certain property; (2) that in determining the March 1, 1913, value of the property the respondent used book balances, records and values which are untrue.  FINDINGS OF FACT.  The petitioner is an individual now residing in Los Angeles, Calif.In 1890 the petitioner and his brother started a laundry business in Denver, Colo.  In 1903 the petitioner bought out his brother's interest, incorporated the business as the Queen City Laundry Co., and received practically all of the capital stock issued, namely, 2,500 shares of the par value of $1 per share.  In 1907 the corporation became bankrupt, but became solvent again in 1908 and resumed business activity.  Between 1908*2070  and March 1, 1913, the company added to its plant equipment a new boiler, a new engine, a new flatwork ironer, and two shirt presses.  In 1918 the Queen City Laundry Co. was consolidated with the Broadway Laundry Co.  A new corporation was organized, known as Goodheart's Broadway Laundry Co., with a capital stock of $100,000, divided into shares of $1 par value each.  The petitioner received 49,998 1/2 shares of the stock of the new company for the *650  entire capital stock of the Queen City Laundry Co.  In 1923 he sold his stock in Goodheart's Broadway Laundry Co. and reported a net profit of $10,000 from the sale in his income-tax return for 1923.  In so determining the amount of his profit, the petitioner used $60,000 as the sale price of his stock and estimated the March 1, 1913, value of his Queen City Laundry stock to be $50,000.  He reached the $50,000 valuation by estimating good will at between $12,000 and $13,000; the machinery and equipment at from $30,000 to $35,000; and supplies on hand at $2,500 to $3,000, all as of March 1, 1913.  The company did not own any real estate.  In the company's tax return for 1914 the cost of machinery is given as $18,000.  No machinery*2071  was purchased by the company after March 1, 1913.  Upon audit the respondent determined that the sale price of petitioner's Goodheart Co. stock was $62,600 and that the March 1, 1913, value of the Queen City Co. stock was $18,625.45.  The net income of the Queen City Laundry Co. for the year 1913 was $797.96.  The net worth of that company as of March 1, 1913, did not exceed $18,625.45.  OPINION.  MARQUETTE: Two questions are presented in this proceeding.  First, at what price did the petitioner sell his stock in the Goodheart's Broadway Laundry Co. in 1923?  Second, what was the March 1, 1913, value of the capital stock of the Queen City Laundry Co. which the petitioner exchanged in 1918 for stock in the Goodheart Co.?  The petitioner alleges in his petition that he sold his Goodheart Laundry Co. stock in 1923 for $60,000.  This is denied by the respondent and neither party has put before us any evidence whatsoever regarding the sale price of the stock.  The respondent, from sources of information not placed in evidence in the proceeding, has determined that the actual sale price was $62,600.  As nothing was offered to rebut that determination, we sustain it.  Regarding*2072  the second question, the petitioner contends that the Queen City Laundry Co. capital stock was worth $50,000 as of March 1, 1913.  He arrives at that valuation from the following estimates: machinery, $30,000 to $35,000; good will, $12,000 to $13,000; supplies on hand, $2,500 to $3,000.  His valuation of the machinery was his recollection of its cost, with no deduction for depreciation.  The machinery was purchased at various times between 1908 and 1913.  In our opinion this estimate of the value of the machinery is entirely too high.  In the Queen City Co.'s tax return for 1914 the cost of machinery was given as $18,000, a deduction *651  for depreciation was taken on that basis, and there is no evidence that any machinery or equipment was purchased after March 1, 1913.  We are also of opinion that the petitioner's estimated value of the good will is not justified.  It appears that the business in question was started in 1890, became bankrupt in 1907, but resumed activity in 1908, and that its net profit in 1913 amounted to $797.96.  We think that such a showing at the end of twenty-three years of business life, without further explanation, does not support a valuation of*2073  $12,000 or $13,000 for good will.  The respondent has determined the March 1, 1913, value of the capital stock of the Queen City Laundry Co. to be $18,625.45.  There is nothing in the record to warrant a belief that that amount was an undervaluation.  The petitioner contends that the respondent has not used proper and correct data in arriving at his determination of deficiency; that the data used was furnished by the Goodheart Broadway Laundry Co. (which purchased the capital stock of the Queen City Co. in 1918), and that the proper and correct data was wilfully withheld or destroyed in order to injure the petitioner.  There is nothing in the evidence before us to sustain these contentions.  Judgment will be entered for the respondent.